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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________
LLC ENERGOALLIANCE,

                    Petitioner,                     Case No. 14-cv-01921 (CRC)

               v.

REPUBLIC OF MOLDOVA,

             Respondent.
____________________________________


                                        Notice of Appeal

       PLEASE TAKE NOTICE that Respondent REPUBLIC OF MOLDOVA hereby appeals

to the United States Court of Appeals for the District of Columbia Circuit from the District

Court's Memorandum Opinion and Final Order entered on October 2, 2019 (Dkt. 66, 67) granting

Motion for Judgment entered in favor of Petitioner LLC Komstroy, as successor in interest to

LLC Energoalliance, against Republic of Moldova in the amount of $58,591,058.50 USD, and all

previous orders and judgments that are merged into that Memorandum Opinion and Final Order,

including but not limited to Decision and Order entered on August 23, 2019 (Dkt. 59, 60),

granting Petition to Confirm Foreign Arbitral Award and denying Respondent Republic of

Moldova’s Renewed Motion to Dismiss, and the Order entered on November 13, 2018 (Dkt. 42),

granting the granting Petitioner's Motion to Lift Stay and denying Respondent's Motion to

Extend Stay.

DATED: October 14, 2019                      s/ Arkady Bukh, Esq.
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